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Model Plan                                                                                     Trustee:   Marshall   Meyer
11/22/2013                                                                                                Stearns    Vaughn
                                                    UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF ILLINOIS

       In re:                                                              )    Case No. 15-32522
                                                                           )
       Jason W Merkel                                                      )
       Jodi L Merkel
                                                                           )
                                      Debtors.                             )    Modified Chapter 13 Plan, dated 2/2/16

       A check in this box indicates that the plan contains special provisions, set out in Section G.
Otherwise, the plan includes no provisions deviating from the model plan adopted by the court at the
time of the filing of this case.
 Section A.             1. As stated in the debtor’s Schedule I and J, (a) the number of persons in the debtor’s household
 Budget                 is 4 ; (b) their ages are 45 40 , 14 , 18 ; (c) total household monthly income is $ 4,494.00 ; and (d)
 items                  total monthly household expenses are $ 3,294.00 , leaving $ 1,200.00 available monthly for plan
                        payments.
                        2. The debtor’s Schedule J includes $ N/A for charitable contributions; the debtor represents that
                        the debtor made substantially similar contributions for N/A months prior to filing this case.
 Section B.             1. The debtor assumes all unexpired leases and executory contracts listed in Section G of this
 General                plan; all other unexpired leases and executory contracts are rejected. Both assumption and
 items                  rejection are effective as of the date of plan confirmation.
                        2. Claims secured by a mortgage on real property of the debtor, set out in Section C or in
                        Paragraph 2 of Section E of this plan, shall be treated as follows:

                        (a) Prepetition defaults. If the debtor pays the cure amount specified in Paragraph 5 of Section E,
                        while timely making all required postpetition payments, the mortgage will be reinstated
                        according to its original terms, extinguishing any right of the mortgagee to recover any amount
                        alleged to have arisen prior to the filing of the petition.

                        (b) Costs of collection. Costs of collection, including attorneys' fees, incurred by the holder after
                        the filing of this bankruptcy case and before the final payment of the cure amount specified in
                        Paragraph 5 of Section E may be added to that cure amount pursuant to order of the court on
                        motion of the holder.
                        3. The holder of any claim secured by a lien on property of the estate, other than a mortgage
                        treated in Section C or in Paragraph 2 of Section E, shall retain the lien until the earlier of (a)
                        payment of the underlying debt determined under nonbankruptcy law, or (b) discharge under 11
                        U.S.C. § 1328, at which time the lien shall terminate and be released by the creditor.
                        4. The debtor shall retain records, including all receipts, of all charitable donations listed in
                        Schedule J.




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Section C.                  The debtor will make no direct payments to creditors holding prepetition claims. /or/
Direct                      The debtor will make current monthly payments, as listed in the debtor's Schedule J--
payment of              increased or decreased as necessary to reflect changes in variable interest rates, escrow
claims by               requirements, collection costs, or similar matters--directly to the following creditors holding
debtor                  claims secured by a mortgage on the debtor’s real property:
                                Creditor: Ford Cred                        , monthly payment, $ 568.00
                                Creditor: NCB Ne Er                        , monthly payment, $ 200.00
 Section D.             1. Initial plan term. The debtor will pay to the trustee $ 1,200.00 monthly for 36 months [and
 Payments               $    monthly for an additional months], for total payments, during the initial plan term, of
 by debtor              $ 43,200.00 . [Enter this amount on Line 1 of Section H.]
 to the
 trustee;               2. Adjustments to initial term. If the amount paid by the debtor to the trustee during the initial
 plan term              plan term does not permit payment of general unsecured claims as specified in Paragraphs 8 and
 and                    9 of Section E, then the debtor shall make additional monthly payments, during the maximum
 completion             plan term allowed by law, sufficient to permit the specified payments.

                        3. Plan completion.     The plan will conclude before the end of the initial term, as adjusted by
                        Paragraph 2, only at such time as all allowed claims are paid in full, with any interest required by
                        the plan /or/
                            The plan will conclude before the end of the initial term at any time that the debtor pays to
                        the trustee the full amounts specified in Paragraphs 1 and 2.

Section E.              The trustee shall disburse payments received from the debtor under this plan as follows:
Disburse-
ments by                1. Trustee’s fees. Payable monthly, as authorized; estimated at 5.00% of plan payments; and
the trustee             during the initial plan term, totaling $ 2,160.00 . [Enter this amount on Line 2a of Section H.]
                        2. Current mortgage payments. Payable according to the terms of the mortgage, as set forth
                        below, beginning with the first payment due after the filing of the case. Each of these payments
                        shall be increased or decreased by the trustee as necessary to reflect changes in variable interest
                        rates, escrow requirements, or similar matters; the trustee shall make the change in payments as
                        soon as practicable after receipt of a notice of the change issued by the mortgage holder, but no
                        later than 14 days after such receipt. The trustee shall notify the debtor of any such change at
                        least 7 days before putting the change into effect. Any current mortgage payment made by the
                        debtor directly to the mortgagee shall be deducted from the amounts due to be paid to the trustee
                        under this plan.
                        (a) To creditor Statebridge Company , monthly payments of $            854.00   . These payments, over the
                        term of the plan, are estimated to total $30,744.00.
                        The total of all current mortgage payments to be made by the trustee under the plan is estimated
                        to be $ 30,744.00 . [Enter this amount on Line 2b of Section H.]
                        3.1. Other secured claims secured by value in collateral. All secured claims, other than mortgage
                        claims treated above and claims treated in Paragraph 3.2, are to be paid in full during the plan
                        term, with interest at an annual percentage rates and in the fixed monthly amounts specified
                        below regardless of contrary proofs of claim (subject to reduction with the consent of the
                        creditor):
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                        -NONE-

                        [All claims in the debtor’s Schedule D, other than mortgages treated above and claims for which
                        the collateral has no value, must be listed in this paragraph.]
                        The total of all payments on these secured claims, including interest, is estimated to be $     0.00    .
                        [Enter this amount on Line 2c of Section H.]
                        3.2 Other secured claims treated as unsecured. The following claims are secured by collateral
                        that either has no value or that is fully encumbered by liens with higher priority. No payment
                        will be made on these claims on account of their secured status, but to the extent that the claims
                        are allowed, they will be paid as unsecured claims, pursuant to Paragraphs 6 and 8 of this section.
                        -NONE-

                        4. Priority claims of debtor’s attorney. Payable in amounts allowed by court order. The total
                        claim of debtor's attorney is estimated to be $ 2,800.00 . [Enter this amount on Line 2d of Section
                        H.]
                        5. Mortgage arrears. Payable as set forth below, regardless of contrary proofs of claim, except
                        that the arrears payable may be reduced either with the consent of the mortgagee or by court
                        order, entered on motion of the debtor with notice to the trustee and the mortgagee. Any such
                        reduction shall be effective 14 days after either the trustee's receipt of a notice of reduction
                        consented to by the mortgagee or the entry of a court order reducing the arrearage.
                        (a) To creditor Statebridge Company , arrears of $ 11,280.00 , payable monthly from available
                        funds, pro rata with other mortgage arrears,
                            without interest /or/   with interest at an annual percentage rate of      %.
                        These arrearage payments, over the term of the plan, are estimated to total $ 10,296.00 .
                        6. Allowed priority claims other than those of the debtor’s attorney. Payable in full, without
                        interest, on a pro rata basis. The total of all payments on non-attorney priority claims to be made
                        by the trustee under the plan is estimated to be $ 0.00 . [Enter this amount on Line 2f of Section
                        H.] Any claim for which the proof of claim asserts both secured and priority status, but which is
                        not identified as secured in Paragraphs 2, 3.1, or 3.2 of this section, will be treated under this
                        paragraph to the extent that the claim is allowed as priority claim.
                         7. Specially classified unsecured claim. A special class consisting of the following non-priority
                        unsecured claim: -NONE-         shall be paid at N/A % of the allowed amount. The total of all
                        payments to this special class is estimated to be $ N/A . [Enter this amount on Line 2g of
                        Section H.]
                        Reason for the special class:                    N/A     .
                        8. General unsecured claims (GUCs). All allowed nonpriority unsecured claims, not specially
                        classified, including unsecured deficiency claims under 11 U.S.C. § 506(a), shall be paid, pro
                        rata,    in full, /or/   to the extent possible from the payments set out in Section D, but not less
                        than 10 % of their allowed amount. [Enter minimum payment percentage on Line 4b of Section
                        H.] Any claim for which the proof of claim asserts secured status, but which is not identified as
                        secured in section C, or Paragraphs 2, 3.1, 3.2 or 5 of this section, will be treated under this
                        paragraph to the extent that the claim is allowed without priority.


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                        9. Interest.    Interest shall not be paid on unsecured claims /or/     interest shall be paid on
                        unsecured claims, including priority and specially classified claims, at an annual percentage rate
                        of     N/A   % [Complete Line 4d of Section H to reflect interest payable.]

Section F.              The trustee shall pay the amounts specified in Section E of this Plan in the following order
Priority                of priority, with claims in a given level of priority reduced proportionately in the event of
                        insufficient plan payments: (1) trustee’s fee; (2) current mortgage payments; (3) secured claims
                        listed in Section E, Paragraph 3.1; (4) priority claims of the debtor's attorney; (5) mortgage
                        arrears; (6) priority claims other than those of the debtor's attorney; (7) specially classified
                        non-priority unsecured claims; and (8) general unsecured claims.

Section G.              Notwithstanding anything to the contrary set forth above, this Plan shall include the provisions
Special                 set forth in the box following the signatures. The provisions will not be effective unless there
terms                   is a check in the notice box preceding Section A.
 Section H.              (1) Total payments from the debtor to the Chapter 13 trustee
 Summary                 (subject to Paragraph 2 of Section D)                                                     $        43,200.00
 of pay-
 ments to                (2) Estimated disbursements by the trustee for non-GUCs
 and from                (general unsecured claims):
 the                       (a) Trustee’s fees                                                 $       2,160.00

 trustee                   (b) Current mortgage payments                                      $      30,744.00
                           (c) Payments of other allowed secured claims                       $             0.00
                           (d) Priority payments to debtor’s attorney                         $       2,800.00
                           (e) Payments of mortgage arrears                                   $      10,296.00
                           (f) Payments of non-attorney priority claims                       $             0.00
                           (g) Payments of specially classified unsecured claims              $             0.00
                           (h) Total [add Lines 2a through 2g]                                                     $        46,000.00

                         (3) Estimated payments available for GUCs and interest
                             during initial plan term [subtract Line 2h from Line 1]                               $         -2,800.00

                         (4) Estimated payments required after initial plan term:
                           (a) Estimated total GUCs, including unsecured deficiency
                               claims under § 506(a)                                 $               11,813.91
                           (b) Minimum GUC payment percentage                                           10    %
                           (c) Estimated minimum GUC payment [multiply line 4a by
                               line 4b]                                              $                1,181.39
                           (d) Estimated interest payments on unsecured claims       $                      0.00
                           (e) Total of GUC and interest payments [add Lines 4c
                               and 4d]                                               $                1,181.39
                           (f) Payments available during initial term [enter Line 3] $               -2,800.00
                           (g) Additional payments required [subtract Line 4f from
                               Line 4e]                                                                            $          3,981.39

                         (5) Additional payments available:




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                            (a) Debtor's monthly payment less trustee's fees and
                                current mortgage payments made by the trustee                 $        286.00
                            (b) Months in maximum plan term after initial term                              24
                            (c) Payments available [multiply line 5a by line 5b]                                    $          6,864.00


 Section I.                  A check in this box indicates that the debtor consents to immediate entry of an order
 Payroll                 directing the debtor's employer to deduct from the debtor's wages the amount specified in
 Control                 Paragraph 1 of Section D and to pay that amount to the trustee on the debtor's behalf. If this is a
                         joint case, details of the deductions from each spouse's wages are set out in Section G.

 Signatures Debtor(s) [Sign only if not represented by an attorney]

                                                                                                       Date


                     Debtor's Attorney                     /s/ Gary L. Shilts                          Date      February 2, 2016


 Attorney Information                    Gary L. Shilts 2587769
                                         Gary L. Shilts
 (name, address,                         Box 2432
 telephone, etc.)                        Aurora, IL 60507-2432
                                         630-859-8522
                                         Fax: 630-859-8523
                                                      Special Terms [as provided in Paragraph G]

   1. Unsecured claims filed after the bar date shall not be paid by the Trustee.

 2. The Debtor shall remain in full compliance pursuant to the underlying retail installment contract with Ford Motor Credit
 Company LLC (FMCC) and therefore the discharge language pursuant to section 1328 of the Bankruptcy Code does not apply
 to the debt owed to FMCC and that FMCC shall retain its lien until such time as the retail installment contract has bee fully
 satisfied.




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